                                              Case Number:21-003544-CI
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                       IN THE CIRCUIT COURT OF THE SIXTH JUDICIAL CIRCUIT
                          IN AND FOR PINELLAS COUNTY, STATE OF FLORIDA
                                      CIRCUIT CIVIL DIVISION

       CHRISTINE CRAMER,                                    CASE NO.:

              Plaintiff,

       v.

       SEPHORA USA, INC., a foreign corporation,
       SIMON CAPITAL GROUP, L.P., a foreign corporation,
       d/b/a TYRONE SQUARE MALL,
       JCPENNEY COMPANY, INC., a foreign corporation, and
       STEPHANIE LAUX,

             Defendants.
       _________________________________________________________/

                                                  COMPLAINT

              COMES NOW the Plaintiff, CHRISTINE CRAMER, by and through her undersigned

       attorney, and hereby sues the Defendants, SEPHORA USA, INC., a foreign corporation,

       (hereinafter SEPHORA), SIMON CAPITAL GROUP, a foreign corporation, d/b/a TYRONE

       SQUARE MALL, JCPENNEY COMPANY, INC., a foreign corporation, and STEPHANIE LAUX,

       and alleges as follows:

                                         GENERAL ALLEGATIONS

              1.       That this is an action for damages in excess of Thirty Thousand Dollars

       ($30,000.00).

              2.       That at all times pertinent to this action, the Plaintiff, CHRISTINE CRAMER, was a

       resident of Pinellas County Florida.

              3.       That the cause of action alleged herein occurred at SEPHORA store located within

       Defendant JCPENNEY COMPANY, INC.’s (hereinafter JCPENNEY) premises that was located

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within property owned and operated by Defendant SIMON CAPITAL GROUP d/b/a TYRONE

SQUARE MALL in Pinellas County, Florida.

       4.     That at all times pertinent to this action, all Defendants, SEPHORA USA, INC, a

foreign corporation, SIMON CAPITAL GROUP, a foreign corporation d/b/a TYRONE SQUARE

MALL and JCPENNEY COMPANY, INC., a foreign corporation, were and are foreign for-profit

corporations, operating businesses located at the TYRONE SQUARE MALL property, in Pinellas

County Florida.

       5.     That the Defendant, SEPHORA, was responsible directly or through its agents,

servants or employees for ongoing operations, maintenance, service and upkeep of the SEPHORA

store located at TYRONE SQUARE MALL in Pinellas County, Florida. The property was open to

the general public and both advertised and marketed in the business of selling makeup and skin care

products to the public specifically targeting individuals such as Plaintiff, CHRISTINE CRAMER.

       6.     That on or about January 17, 2018, the Plaintiff, CHRISTINE CRAMER, was a

business invitee of Defendants SEPHORA and JCPENNEY at the TYRONE SQUARE MALL.

Property.

       7.     At all times material hereto, SIMON CAPITAL GROUP owned and operated the

TYRONE SQUARE MALL and was responsible for the leasing maintenance and service of the

premises.

       8.     At all times material hereto, the Plaintiff, CHRISTINE CRAMER, was a business

invitee/customer of the Defendants and at all times she was lawfully on the premises.

       9.     That at all times material hereto defendant JCPENNEY leased the premises located

at the TYRONE SQUARE MALL operating a retail store in the business of selling amongst other

things makeup and skin care products as well as clothing furniture and home goods.

       10.    Upon information and belief, Defendant JCPENNEY leased retail space to defendant

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SEPHORA within the JCPENNEY premises and was responsible to ensure that its leasees/tenants

provided a safe and hazard free environment for its business invitee customers free from latent

dangers and hazards.

       11.      That Defendant SEPHORA was operating a for-profit business and was responsible

for maintaining the premises leased from Defendant JCPENNEY and to provide a safe and hazard

free environment for its business invitee customers free from latent dangers and hazards.

       12.      That at all times material hereto defendant TYRONE SQUARE MALL owned and

operated a mall developed solely to entice business invitees such as Plaintiff, CHRISTINE

CRAMER, to peruse and shop at its stores and restaurants soliciting sales transactions and at all

times material hereto upon information and belief provided maintenance services for its tenants

including Defendants JCPENNEY and SEPHORA.

       13.      That on or about January 17, 2018, maintenance personnel of the Defendants arrived

at the SEPHORA location located within Defendant JCPENNEY’s store and noticed a foreign

substance on the floor but failed to properly identify the entire area of danger that created a hazard

for its business invitees thereby allowing the Plaintiff to slip and fall injuring her back, neck, head

and shoulder.

       14.      Defendants owed a duty to Plaintiff, CHRISTINE CRAMER, to provide her with a

safe and reasonably danger free shopping area and to ensure that there were no latent dangers that

would impact CHRISTINE CRAMER’s safety and well-being. Additionally, the Defendants owed

a duty to CHRISTINE CRAMER to timely remedy, protect and/or warn of dangerous conditions

that are or were created by the Defendant or known or should have been known by the Defendants.

                                     COUNT I
                       NEGLIGENCE AS TO DEFENDANT SEPHORA

       15.      Plaintiff, CHRISTINE CRAMER, adopts and re-alleges each and every allegation in

paragraphs 1 through 14, above, as though fully set forth herein.
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       16.     The location of the fall was in an area that the Defendant, SEPHORA, knew or

should have known would be regularly traversed by its business invitees.             The Defendant,

SEPHORA, was negligent in allowing the condition to exist and even more so it covered up the

condition, so it was not readily detectable by its business invitee guests.         Additionally, the

Defendant was negligent in failing to warn of the danger and in failing to protect people such as

Plaintiff, CHRISTINE CRAMER, from encountering the dangerous condition.

       17.     Defendant, SEPHORA, violated its duty and was negligent as follows:

               a.     Failing to discover and remedy the unreasonably dangerous or hazardous

condition through reasonable care, inspection and maintenance;

               b.     Failing to remedy said dangerous condition despite having actual or

constructive knowledge of said condition;

               c.     Failing to correct the dangerous condition that they knew or should have

known posed a danger to others;

               d.     Failure to warn patrons and specifically the Plaintiff of said unreasonably

dangerous condition; and

               e.     Failing to act reasonable under all the circumstances.

       18.     As a direct and proximate result of the above negligence of the Defendant

SEPHORA, Plaintiff, CHRISTINE CRAMER, suffered bodily injury and resulting pain and

suffering, disability, disfigurement, aggravation of a previously existing condition, mental anguish,

loss of capacity for the enjoyment of life, loss of earnings, loss of earning capacity and she has

incurred medical and related expenses in the treatment of injuries. The injuries and losses are either

permanent or continuing in nature and Plaintiff will suffer the losses and impairment in the future.

       WHEREFORE, Plaintiff demands judgment for damages against the Defendant,

SEPHORA, inclusive of interest, cost and such further relief as is deemed proper by this Court.

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                                     COUNT II
                       NEGLIGENCE AS TO DEFENDANT JCPENNEY

       19.     Plaintiff, CHRISTINE CRAMER, adopts and re-alleges each and every allegation in

paragraphs 1 through 14, above, as though fully set forth herein.

       20.     The location of the fall was in an area that the Defendant, JCPENNEY, knew or

should have known that there would be regularly traversed by its business invitees. The Defendant,

JCPENNEY, was negligent in allowing the condition to exist and even more so it covered up the

condition, so it was not readily detectable by its business invitee guests. Additionally, the Defendant

was negligent in failing to warn of the danger and in failing to protect people such as Plaintiff,

CHRISTINE CRAMER, from encountering the dangerous condition.

       21.     Defendant, JCPENNEY, owed a duty to its business invitee customers to provide a

safe and hazard free shopping environment. Additionally, As the lessor of the property that it leased

to Defendant SEPHORA, Defendant, JCPENNEY, owed a duty to provide, a safe and hazard free

environment free of any hazards or defects. Defendant, JCPENNEY, violated its duty owed to the

Plaintiff, CHRISTINE CRAMER, and was negligent in one or more but not limited to the

following:

               a.      Failing to discover and remedy the unreasonably dangerous or hazardous

condition through reasonable care, inspection and maintenance;

               b.      Failing to remedy said dangerous condition despite having actual or

constructive knowledge of said condition;

               c.      Failing to correct the dangerous condition that they knew or should have

known posed a danger to others;

               d.      Failure to warn patrons and specifically the Plaintiff of said unreasonably

dangerous condition; and

               e.      Failing to act reasonable under all the circumstances.
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       22.     As a direct and proximate result of the above negligence of the Defendant

JCPENNEY, Plaintiff, CHRISTINE CRAMER, suffered bodily injury and resulting pain and

suffering, disability, disfigurement, aggravation of a previously existing condition, mental anguish,

loss of capacity for the enjoyment of life, loss of earnings, loss of earning capacity and she has

incurred medical and related expenses in the treatment of injuries. The injuries and losses are either

permanent or continuing in nature and Plaintiff will suffer the losses and impairment in the future.

       WHEREFORE, Plaintiff demands judgment for damages against the Defendant,

SEPHORA, inclusive of interest, cost and such further relief as is deemed proper by this Court.

                                 COUNT III
              NEGLIGENCE AS TO DEFENDANT TYRONE SQUARE MALL

       23.     Plaintiff, CHRISTINE CRAMER, adopts and re-alleges each and every allegation in

paragraphs 1 through 14, above, as though fully set forth herein.

       24.     The location of the fall was in an area that the Defendant, TYRONE SQUARE

MALL, as the owner of the property that it leased to defendant Sephora, knew or should have

known that business invitee customers would be regularly traversing its premises.

       25.     The Defendant, TYRONE SQUARE MALL, was negligent in allowing a dangerous

condition to exist and even more so it covered up the condition, so it was not readily detectable by

its business invitee guests. Additionally, the defendant was negligent in failing to warn of the

danger and in failing to protect people such as Plaintiff, CHRISTINE CRAMER, from encountering

the dangerous condition.

       26.     Defendant, TYRONE SQUARE MALL, owed a duty to its business invitee

customers to provide a safe and hazard free shopping environment. Defendant, TYRONE SQUARE

MALL violated its duty owed to the plaintiff and was negligent in one or more but not limited to the

following:

               a.     Failing to discover and remedy the unreasonably dangerous or hazardous
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condition through reasonable care, inspection and maintenance;

               b.      Failing to remedy said dangerous condition despite having actual or

constructive knowledge of said condition;

               c.      Failing to correct the dangerous condition that they knew or should have

known posed a danger to others;

               d.      Failure to warn patrons and specifically the Plaintiff, of said unreasonably

dangerous condition; and

               e.      Failing to act reasonable under all the circumstances.

       27.     As a direct and proximate result of the above negligence of the Defendant TYRONE

SQUARE MALL, Plaintiff, CHRISTINE CRAMER, suffered bodily injury and resulting pain and

suffering, disability, disfigurement, aggravation of a previously existing condition, mental anguish,

loss of capacity for the enjoyment of life, loss of earnings, loss of earning capacity and she has

incurred medical and related expenses in the treatment of injuries. The injuries and losses are either

permanent or continuing in nature and Plaintiff will suffer the losses and impairment in the future.

       WHEREFORE, Plaintiff demands judgment for damages against the Defendant,

SEPHORA, inclusive of interest, cost and such further relief as is deemed proper by this Court.

                                     COUNT IV
                    NEGLIGENCE AS TO DEFENDANT STEPHANIE LAUX

       28.     Plaintiff, CHRISTINE CRAMER, adopts and re-alleges each and every allegation in

paragraphs 1 through 14, above, as though fully set forth herein.

       29.     That all times material hereto Defendant, STEPHANIE LAUX, upon information

and belief was and is a resident of Pinellas County, Florida.

       30.     At all times material hereto Defendant, STEPHANIE LAUX, was aware of the

dangerous condition that existed and failed to take steps to protect her customers. Defendant,

STEPHANIE LAUX, knew that the condition was unsafe and posed a hazard to customers and the
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general public and failed to properly rectify and cure the hazard or notify the Plaintiff of the

potential hazard.

       31.     The Defendant, STEPHANIE LAUX, was negligent in allowing the condition to

exist. Additionally, the Defendant was negligent in failing to warn of the danger and failing to

protect people such as the Plaintiff, CHRISTINE CRAMER, from encountering the dangerous

condition.

       32.     Defendant, STEPHANIE LAUX, owed a duty to customers and business invitees of

Sephora to provide a safe and danger free environment to its customers and violated her duty

violated its duty owed to the Plaintiff and was negligent in one or more but not limited to the

following:

               a.      Failing to discover and remedy the unreasonably dangerous or hazardous

condition through reasonable care, inspection and maintenance;

               b.      Failing to remedy said dangerous condition despite having actual or

constructive knowledge of said condition;

               c.      Failing to correct the dangerous condition that they knew or should have

known posed a danger to others;

               d.      Failure to warn patrons and specifically the Plaintiff of said unreasonably

dangerous condition; and

               e.      Failing to properly repair a known dangerous condition.

       33.     As a direct and proximate result of the above negligence of the Defendant,

STEPHANIE LAUX, the Plaintiff, CHRISTINE CRAMER, suffered bodily injury and resulting

pain and suffering, disability, disfigurement, aggravation of a previously existing condition, mental

anguish, loss of capacity for the enjoyment of life, loss of earnings, loss of earning capacity and she

has incurred medical and related expenses in the treatment of injuries. The injuries and losses are

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either permanent or continuing in nature and Plaintiff will suffer the losses and impairment in the

future.

          WHEREFORE, Plaintiff demands judgment for damages against the Defendant,

STEPHANIE LAUX, inclusive of interest, cost and such further relief as is deemed proper by this

court.

                                     DEMAND FOR JURY TRIAL

          Plaintiff herein demands trial by jury on all issues triable by right by jury

          Dated this the 21st day of July, 2021.

                                                   Respectfully submitted,

                                                   /s/ Omar F. Medina
                                                   ______________________________________
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